Case 2:04-Cv-02853-.]PI\/|-tmp Document 35 Filed 08/18/05 Page 1 of 3 Page|D 36

Fu£o ev n …,_,_ o.c.
IN THE UNITED sTATES DISTRICT CoURT -
FOR THE WESTERN DISTRICT oF TENNESSEE 95 AU(; g 3 PH 1= 51

 

WESTERN DIVISION
t " M. `
@_§,t;§<, am await mliRT
¢~-,I`.: |1",~1`!:‘

KEN E. BEASLEY ) W‘@ 07 ` ' "`tms

)
Plainu'ff, ) No. 04 2853 MIP

)
v. )
)
STATE FARM FIRE & CASUALTY )
COMPANY )
)
Defendant. )

 

PRB:EBSED.ORDER GRANTING JOINT MOTION TO AMEND
THE SCHEDULING ORDER

 

This matter is before the Court upon the parties' Joint Motion to Amend the Rule 16(b)
Scheduling Order. The Court finds that the Motion is well taken and should be granted lt is
therefore

ORDERED that the Rule 16(b) Scheduling Order shall be and the same is hereby
amended as follows:

COMPLETING ALL WRITTEN DISCOVERY: November 30, 2005

(a) DOCUMENT PRODUCTION: September 30, 2005

(b) INTERROGATORIES: September 30, 2005

(c) REQUESTS FOR ADMISSIONS: Septernber 30, 2005

(d) EXPERT DISCLOSURE (Rule 26):

(l) Plaintiffs Expert Disclosures: October 1, 2005
(2) Defendant's Expert Disclosures: November l, 2005

(e) DEPOSITIONS (Including experts): December 15, 2005

M ALM 895801 vl

Th£' ‘ 71
2731551-000055 08/16/05 5 document el'l@l@@‘

on the docket sheet in comp

With Hule 58 and/or 79(a) FF';CP on /{3_05 hance

Case 2:04-Cv-02853-.]PI\/|-tmp Document 35 Filed 08/18/05 Page 2 of 3 Page|D 37

M

Ju`d:ge

Date: A UQU‘(,{,¢JK` \ 74 M_“

SUBMITTED FORE TRY 3
/-'.__""\~._
/%M€M ,/ 1 ~ -

/GeB'rge T. Lewis', 111 (TN # 7018)
Antonio L. Matthews (TN #018107)
165 Madison Avenue, Suite 2000
Mernphis, Termessee 38103
Attomeys for Defendant
State Farm Fire & Casualty Colnpany

Q`¢M 1§/<§7”“<}*(” W"'
Josepf% T. Getz (#10964) / ' %
alizabeth B. stengel (#13061) /¢?/
100 Peabody Place, Suite 1000

Memphis, Tennessee 3 8103
Attomeys for Ken Beasley

 

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing has been mailed, postage

prepaid, to J'oseph T. Getz, Elizabeth B. Stengel and M. E. Buck Doughjrty, III, 100 §eabody
Place, Suite 1000, Memphis, Tennessee 38103, this dc day of ,

2005.

  

M ALM 895801vl
2787551-000055 08/08/05
M ALM 89580| vl
2787551-000055 08116/05

       

TATES DISTRIT OURT WESTERN DISRICT OF TNNESSEE

 

mm

UNITED

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CV-02853 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

Joseph T. Getz

LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/lemphis7 TN 38103

Antonio L. Matthews

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/lemphis7 TN 38103

M.E. Buck Dougherty

LESS GETZ & LIPMAN, PLLC
100 Peabody Place

Suite 1000

1\/lemphis7 TN 38103

George T. LeWis

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/lemphis7 TN 38103

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

1\/lemphis7 TN 38103

Elizabeth B. Stengel
LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

